Case 4:20-cr-00017-DJN-DEM Document 101 Filed 07/09/21 Page 1 of 6 PageID# 923
Case 4:20-cr-00017-DJN-DEM Document 101 Filed 07/09/21 Page 2 of 6 PageID# 924
Case 4:20-cr-00017-DJN-DEM Document 101 Filed 07/09/21 Page 3 of 6 PageID# 925
Case 4:20-cr-00017-DJN-DEM Document 101 Filed 07/09/21 Page 4 of 6 PageID# 926
Case 4:20-cr-00017-DJN-DEM Document 101 Filed 07/09/21 Page 5 of 6 PageID# 927
Case 4:20-cr-00017-DJN-DEM Document 101 Filed 07/09/21 Page 6 of 6 PageID# 928
